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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
: CONSENT PRELIMINARY ORDER

-Vir OF FORFEITURE/

: MONEY JUDGMENT

JAQUON DANCY,

a/k/a “Wiz,” : S1 20 Cr. 225 (PMH)
Defendant.
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WHEREAS, on or about August 5, 2020 Jaquon Dancy, a/k/a “Wiz” (the
“Defendant”), was charged in a one-count Superseding Indictment $1 20 Cr. 225 (PMH) (the
“Indictment”) with narcotics conspiracy, in violation of Title 21, United States Code, Section 841
(b)(1)(B) and 846 (Count One);

WHEREAS, the Indictment included a forfeiture allegation as to Count One,
seeking forfeiture to the United States, pursuant to Title 21, United States Code, Section 853, of
any and all property constituting, or derived from, any proceeds obtained, directly or indirectly, as
a result of the offense charged in Count One of the Indictment, and any and all property used or
intended to be used, in any manner or part, to commit, or to facilitate the commission of the offense
charged in Count One of the Indictment, including but not limited to a sum of money in United
States currency representing the amount of proceeds traceable to the commission of the offense
charged in Count One of the Indictment;

WHEREAS, on or about February 24, 2021, the Defendant pled guilty to Count
One of the Indictment, pursuant to a plea agreement with the Government, wherein the Defendant
admitted the forfeiture allegation with respect to Count One of the Indictment, and agreed to forfeit

to the United States, pursuant to Title 21, United States Code, Section 853, a sum of money equal
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to $17,225 in United States currency, representing the amount of proceeds traceable to the
commission of the offense charged in Count One of the Indictment that the Defendant personally
obtained;

WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $17,225 in United States currency representing the amount of proceeds traceable to the
offense charged in Count One of the Indictment that the Defendant personally obtained; and

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the offense charged in Count One of the Indictment that the
Defendant personally obtained cannot be located upon the exercise of due diligence.

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Audrey Strauss, United States Attorney, Assistant United States
Attorney, Shiva H. Logarajah, of counsel, and the Defendant, and his counsel, John Wallenstein,
Esq., that:

1. Asa result of the offense charged in Count One of the Indictment, to which
the Defendant pled guilty, a money judgment in the amount of $17,225 in United States currency
(the “Money Judgment”) representing the amount of proceeds traceable to the offense charged in
Count One of the Indictment that the Defendant personally obtained, shall be entered against the
Defendant.

2. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, Jaquon
Dancy, a/k/a Wiz, and shall be deemed part of the sentence of the Defendant, and shall be included

in the judgment of conviction therewith.
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3. All payments on the outstanding money judgment shall be made by postal
money order, bank or certified check, made payable, in this instance, to the United States Marshals
Service, and delivered by mail to the United States Attorney’s Office, Southern District of New
York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s
Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

4. The United States Marshals Service is authorized to deposit the payments
on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title
to such forfeited property.

5. Pursuant to Title 21, United States Code, Section 853(p), the United States
is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount
of the Money Judgment.

6. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed ts identify, locate
or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

I The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure.

8. The Clerk of the Court shall forward three certified copies of this Consent
Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander
J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.
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9, The signature page of this Consent Preliminary Order of Forfeiture/Money

Judgment may be executed in one or more counterparts, each of which will be deemed an original

but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

AUDREY STRAUSS
United States Attorney for the
Southern District of New York

By: Z

Shiva H. Logarajah

Assistant United States Attorney
300 Quatropas Street

White Plains, NY 10601

(914) 993-1918

py, QT?)

JAGUON DANCY

By: & ts
OFIN WALLENSTEIN, ESQ.
Cn rney for Defendant
SO ORDERED:

(VY Wd

HONORABLE PHP M. HALPERN
UNITED BLP DISTRICT JUDGE

February 24, 2021
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